    Case: 1:25-cv-04874 Document #: 30 Filed: 06/05/25 Page 1 of 4 PageID #:1427




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


AMERICAN AIRLINES, INC.,

                    Plaintiff,

            v.
                                                      Case No. 25-cv-4874
THE CITY OF CHICAGO and MICHAEL P.
                                                      Hon. Judge Joan H. Lefkow
MCMURRAY, in his capacity as the
Commissioner of the Chicago Department of
Aviation,

                    Defendants.


             AMERICAN AIRLINES, INC.’S MOTION FOR LEAVE TO FILE
                  A SURRESPONSE TO DEFENDANTS’ REPLY TO
                UNITED AIRLINES, INC.’S MOTION TO INTERVENE

       Plaintiff American Airlines, Inc. (“American”) respectfully moves this Court for leave to

file a Surresponse to Defendants’ Reply to United Airlines, Inc.’s (“United”) Motion to Intervene.

In support of this motion, American states the following:

       1.        On May 5, 2025, United filed a Motion to Intervene in this action. Dkt. Nos. 6-7.

       2.        On May 7, 2025, the Court ordered that “[a]ny response to the motion to intervene

is due by 5/20/2025; reply is due by 5/28/2025.” Dkt. No. 17.

       3.        On May 20, 2025, American filed its Opposition to United’s Motion to Intervene.

Dkt. No. 26. Defendants the City of Chicago and Michael P. McMurray (together, the “City”) did

not file any response to United’s Motion to Intervene on or before that date.

       4.        Instead, on May 28, 2025, the City filed a document styled as a “Reply to American

Airlines, Inc.’s Memorandum in Opposition to United Airlines, Inc.’s Motion to Intervene” (the

“Reply”). Dkt. No. 28. In fact, the City’s Reply was in support of United’s Motion to Intervene.
    Case: 1:25-cv-04874 Document #: 30 Filed: 06/05/25 Page 2 of 4 PageID #:1428




        5.      Later on May 28, 2025, United also filed its own Reply to its Motion to Intervene.

Dkt. No. 29.

        6.      This Court’s Rules do not contemplate replies to motions from non-movants. See

L.R. 56.1(c), 78.3; cf. L.C.R. 47.1 (“The moving party may file a reply brief . . . .” (emphasis

added)). And this Court’s May 7, 2025, order envisioned that there would be a single “reply” to

United’s Motion to Intervene—from United. Dkt. No. 17. The City’s Reply is at odds with the

Rules and the Court’s order.

        7.      The City’s Reply was also untimely. If the City wanted to respond—whether in

support of or in opposition to—United’s Motion to Intervene, it was required to file a “response”

no later than May 20, 2025, as American did. Id.

        8.      The City’s Reply also prejudices American, raising new arguments about the

substance of American’s relationship with the City and its lease agreement with the City at O’Hare

International Airport. See Dkt. No. 28, at 1 (stating that the City’s Reply “provides the Court with

helpful context” not raised in United’s Motion to Intervene concerning “the rights and obligations

of the City and its airline partners under” the airlines’ leases).

        9.      The City’s new arguments could not have been addressed in American’s Opposition

to United’s Motion to Intervene, and American seeks a fair opportunity to address them now and

to clarify the record. This “Court has discretion to approve of surresponses.” Johnson v.

McDonald, No. 15-CV-11092, 2020 WL 374679, at *1 n.1 (N.D. Ill. Jan. 23, 2020) (citing Johnny

Blastoff, Inc. v. L.A. Rams Football Co., 188 F.3d 427, 439 (7th Cir. 1999)). And doing so is

particularly appropriate where the surresponse “responds directly to arguments first made” in a

reply brief. Id.; see also Monfardini v. Quinlan, No. 02 C 50083, 2002 WL 1264005, at *2 (N.D.

Ill. June 4, 2002) (permitting surresponse where party “waited until his reply brief” to file




                                                   2
   Case: 1:25-cv-04874 Document #: 30 Filed: 06/05/25 Page 3 of 4 PageID #:1429




supporting material). A surresponse is thus essential to “vouchsafe[] [American’s] right to be

heard and provides the court with the information necessary to make an informed decision.” Univ.

Healthsystem Consortium v. United Health Grp., Inc., 68 F. Supp. 3d 917, 922 (N.D. Ill. 2014).

       10.    American’s proposed Surresponse is attached hereto as Exhibit 1.

       WHEREFORE, American respectfully requests that the Court grant American leave to file

a Surresponse and docket the proposed Surresponse attached as Exhibit 1.



Dated: June 5, 2025                            Respectfully submitted,

                                                 /s/ Sean Berkowitz
                                               Sean Berkowitz (ARDC No. 6209701)
                                               Garrett S. Long (ARDC No. 6290075)
                                               LATHAM & WATKINS LLP
                                               330 North Wabash Avenue, Suite 2800
                                               Chicago, IL 60611
                                               Telephone: (312) 876-7700
                                               Fax: (312) 993-9767
                                               sean.berkowitz@lw.com
                                               garrett.long@lw.com

                                               David C. Tolley (admitted pro hac vice)
                                               LATHAM & WATKINS LLP
                                               200 Clarendon Street
                                               Boston, MA 02116
                                               Telephone: (617) 948-6000
                                               Fax: (617) 948-6001
                                               david.tolley@lw.com

                                               Attorneys for American Airlines, Inc.




                                               3
    Case: 1:25-cv-04874 Document #: 30 Filed: 06/05/25 Page 4 of 4 PageID #:1430




                                CERTIFICATE OF SERVICE

       I, Sean Berkowitz, an attorney, certify that on June 5, 2025, I caused a true and correct

copy of the foregoing document to be electronically filed with the Clerk of Court using CM/ECF,

which will serve on all counsel of record.


                                                /s/ Sean Berkowitz
                                               Sean Berkowitz
